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     MEN'S WATER POLO          MEN'S WATER POLO              MEN'S WATER POLO                       
                | FINAL                   | LIVE                        5:00 PM PT
                                                                                                        
                                                                                                          




     TICKETS                        

     SPORTS                                       2014 Men's Water Polo Roster

                                                                                                      
     SCHEDULES                      

     ROSTERS                                                                     WILSON
     ATHLETICS                                                    HEIGHT:

                                                                   CLASS:
     DONATE                         
                                                                   HOMETOWN:
     SHOP                           
                                                                   HIGH SCHOOL:



                                                       BIO        RELATED           STATS

                                                   THIS SEASON:                                HIGH
                                                   SCHOOL:




                                                   PERSONAL:




  TROJAN TICKER

                                   




https://usctrojans.com/sports/mens-water-polo/roster/johnny-wilson/4711                          12/5/2019
